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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re
                                                            Chapter 11

    Lordstown Motors Corp., et al.,1                        Case No. 23-10831 (MFW)

                                                            (Jointly Administered)
                                          Debtors.
                                                           Obj. Deadline: Mar. 7, 2024 at 4:00 pm (ET)
                                                           Hearing Date: Mar. 14, 2024 at 3:00 pm (ET)

                NOTICE OF SECOND INTERIM FEE APPLICATION OF
     JEFFERIES LLC AS INVESTMENT BANKER FOR THE DEBTORS AND DEBTORS IN
    POSSESSION FOR COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
          REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD FROM
               OCTOBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

            PLEASE TAKE NOTICE that Jefferies LLC (the “Applicant”) has today filed the

attached Second Interim Fee Application of Jefferies LLC as Investment Banker for the Debtors

and Debtors in Possession for Compensation for Professional Services Rendered and

Reimbursement of Expenses Incurred for the Period from October 1, 2023 to and Including

December 31, 2023 (the “Application”) with the United States Bankruptcy Court for the District

of Delaware (the “Bankruptcy Court”).

            PLEASE TAKE FURTHER NOTICE that objections, if any, to the Application must be

made in accordance with the Order Establishing Procedures For Interim Compensation and

Reimbursement of Expenses For Chapter 11 Professionals and Committee Members, entered July

25, 2023 [D.I. 181] (the “Interim Compensation Order”) and must be filed with the Clerk of the

Bankruptcy Court, 824 North Market Street, 3rd Floor, Wilmington, DE 19801, and be served



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         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address
is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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upon and received by (a) counsel to the debtors and debtors in possession in the above-captioned

cases (collectively, the “Debtors”), (i) White & Case LLP, 200 South Biscayne Boulevard, Suite

4900, Miami, FL 33131 (Attn: Thomas E Lauria (tlauria@whitecase.com), Matthew C. Brown

(mbrown@whitecase.com), and Fan B. He (fhe@whitecase.com)); (ii) White & Case LLP, 1221

Avenue    of   the   Americas    New    York,       NY     10020   (Attn:    David        M.    Turetsky

(david.turetsky@whitecase.com)); (iii) White & Case LLP, 111 South Wacker Drive, Suite 5100,

Chicago, IL 60606 (Attn: Jason N. Zakia (jzakia@whitecase.com)); and (iv) White & Case LLP,

555 South Flower Street, Suite 2700, Los Angeles, CA 90071 (Attn: Roberto Kampfner

(rkampfner@whitecase.com),      Doah    Kim     (doah.kim@whitecase.com),          and         RJ   Szuba

(rj.szuba@whitecase.com)); (b) proposed counsel to the Debtors, Womble Bond Dickinson (US)

LLP, 1313 North Market Street, Suite 1200 Wilmington, DE 19801 (Attn: Donald J. Detweiler

(don.detweiler@wbd-us.com), and Morgan L. Patterson (morgan.patterson@wbd-us.com));

(c) counsel to the Official Committee of Unsecured Creditors, (i) Troutman Pepper Hamilton

Sanders LLP, Hercules Plaza, Suite 5100, 1313 N. Market Street, Wilmington, DE 19801 (Attn:

David    M.     Fournier    (david.fournier@troutman.com)          and      Tori     L.        Remington

(tori.remington@troutman.com)); (ii) Troutman Pepper Hamilton Sanders LLP, 3000 Two Logan

Square, 18th & Arch Streets, Philadelphia, PA 19103-2799 (Attn: Francis J. Lawall

(francis.lawall@troutman.com)); (iii) Troutman Pepper Hamilton Sanders LLP, 875 Third

Avenue, New York, NY 10022 (Attn: Deborah Kovsky-Apap (deborah.kovsky@troutman.com));

and (iv) Troutman Pepper Hamilton Sanders LLP, 4000 Town Center, Suite 1800, Southfield, MI

48075 (Attn: Sean P. McNally (sean.mcnally@troutman.com)); (d) the Office of The United States

Trustee for the District of Delaware, 844 King Street, Suite 2207, Wilmington, DE 19801 (Attn:

Benjamin A. Hackman (Benjamin.A.Hackman@usdoj.gov)); and (e) counsel to the Official



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Committee of Equity Security Holders, (i) Brown Rudnick LLP, 7 Times Square, New York, NY

10036 (Attn: Robert J. Stark (rstark@brownrudnick.com) and Bennett S. Silverberg

(bsilverberg@brownrudnick.com)); (ii) Brown Rudnick LLP, One Financial Center, Boston, MA

02111 (Attn: Matthew A. Sawyer (msawyer@brownrudnick.com)); and (iii) Morris James LLP,

500 Delaware Avenue, Suite 1500, Wilmington, DE 19801 (Attn: Eric J. Monzo

(emonzo@morrisjames.com) and Brya M. Keilson (bkeilson@morrisjames.com)) by no later than

4:00 p.m. (ET) on March 7, 2024 (the “Objection Deadline”).

       PLEASE TAKE FURTHER NOTICE that a hearing to consider this Application will be

held before The Honorable Mary F. Walrath at the United States Bankruptcy Court for the District

of Delaware, 824 North Market Street, 5th Floor, Courtroom No. 4, Wilmington, Delaware 19801

on March 14, 2024 at 3:00 p.m. (ET).

       PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.




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Dated: February 14, 2024
Wilmington, Delaware

 /s/ Morgan L. Patterson
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 Morgan L. Patterson (DE Bar No. 5388)             Matthew C. Brown (admitted pro hac vice)
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                                                   Counsel to Debtors and
                                                   Debtors in Possession




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